      Case 22-52950-pmb              Doc 124 Filed 07/22/22 Entered 07/22/22 11:09:51                                 Desc Ntc.
                                           Proof of Claim Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT

                                                  Northern District of Georgia


In     Debtor(s)
Re:    Atlanta Light Bulbs, Inc.                                     Case No.: 22−52950−pmb
       2109 Mountain Industrial Blvd                                 Chapter: 7
       Tucker, GA 30084                                              Judge: Paul Baisier




                                            NOTICE SETTING DEADLINE FOR
                                              FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.

     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:



                                           Non−government proof of claim: 10/20/22




                                              Government proof of claim: 10/20/22


                                              File with:
                                              United States Bankruptcy Court
                                              1340 United States Courthouse
                                              75 Ted Turner Drive SW
                                              Atlanta, GA 30303


Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                      (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                       If you have already filed your proof of claim, it is not necessary to refile.




                                                                                            M. Regina Thomas
                                                                                            Clerk of Court
                                                                                            U.S. Bankruptcy Court
Dated: July 22, 2022
Form ntcpoc
